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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
NLI HOLDINGS, LLC DOC #:

d/b/a NATIONAL LAMPOON DATE FILED: 11/9/2020

 

Plaintiff,
-against-

20 Civ. 9292 (AT)

EVAN SHAPIRO, JILL SHAPIRO,
ESHAP LLC a/k/a ESHAPTV/ESHAP LLC, and ORDER
LGA PRODUCTIONS, LLC,

 

Defendants.
ANALISA TORRES, District Judge:

 

To protect the public health, while promoting the “just, speedy, and inexpensive determination
of every action and proceeding,” Fed. R. Civ. P. 1, it is ORDERED pursuant to Rules 30(b)(3) and
30(b)(4) of the Federal Rules of Civil Procedure that all depositions in this action may be taken via
telephone, videoconference, or other remote means. It is further ORDERED pursuant to Rule
30(b)(5) that a deposition will be deemed to have taken place “before an officer appointed or
designated under Rule 28” if such officer attends the deposition using the same remote means used to
connect all other participants, so long as all participants (including the officer) can clearly hear and be
heard by all other participants. The parties are encouraged to engage in discovery through remote
means at every available opportunity.

SO ORDERED.

Dated: November 9, 2020
New York, New York

On

ANALISA TORRES
United States District Judge
